  8:22-cv-00420-BCB-SMB Doc # 52 Filed: 02/14/24 Page 1 of 2 - Page ID # 592




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA
DENISHA M. SEALS,                      )
     PLAINTIFF                         )     CASE NO. 8:22-cv-420
                                       )
VS.                                    )     PLAINTIFF’S NOTICE OF
                                       )     SERVING AMENDED DISCOVERY
BOARD OF REGENTS OF THE                )     ANSWERS TO DEFENDANT
UNIVERSITY OF NEBRASKA,                )     FOR INTERROGATORIES AND
MARGARETTE CHRISTENSEN, PHD.,)               REQUEST FOR PRODUCTION OF
     DEFENDANTS                )             DOCUMENTS
                               )
                               )
                               )

       COME NOW the Plaintiff, pursuant to NECivR 33.1 and NECivR 34.1, and
provide notice to the Court and to Defendants that on February 14, 2024, they served
Plaintiff’s Second Amended Answers to Defendants on their request to answer First Set
of Interrogatories and First Set of Request for Production of Documents, by sending
the same via email, to Defendants, by and through her attorney, Tara A. Stingley,
tstingley@clinewilliams.com.

      Dated February 14, 2024.
                                             Respectfully submitted,
                                              ___/s/ John D. Cartier_/s/__
                                             John D. Cartier #26307
                                             Cartier Law
                                             PO Box 5241
                                             Lincoln, Nebraska 68505
                                             (954) 319-9832
                                             johncartierlaw@gmail.com
  8:22-cv-00420-BCB-SMB Doc # 52 Filed: 02/14/24 Page 2 of 2 - Page ID # 593




                             CERTIFICATE OF SERVICE
      I, John D. Cartier, hereby certify that a true and correct copy of the foregoing
was served on this 14th day of February, 2024, via email to the following:

      Tara A. Stingley
      tstingley@clinewilliams.com

                                           ___/s/ John D. Cartier_/s/__




                                            2
